18-22927-rdd   Doc 4   Filed 06/20/18   Entered 06/20/18 13:16:26   Main Document
                                        Pg 1 of 2
    18-22927-rdd   Doc 4   Filed 06/20/18   Entered 06/20/18 13:16:26   Main Document
                                            Pg 2 of 2

x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




                           BOHLER ENGINEERING
                           35 TECHNOLOGY DRIVE
                           WARREN, NJ 07059


                           BRUCE L. NUSSMAN, ESQ.
                           KATES NUSSMAN ELLIS ET AL.
                           190MOORE STREET SUITE 306
                           HACKENSACK, NJ 07601


                           LAW OFFICE DAVID FLEISCHMAN PC
                           2233 NOSTRAND AVENUE, 3RD FLR
                           BROOKLYN, NY 11210


                           NJ CONSULTING
                           1661 44TH STREET
                           BROOKLYN, NY 11204


                           RIVERSIDE ABSTRACT
                           212 SECOND STREET
                           SUITE 502
                           LAKEWOOD, NJ 08701


                           SKYLINE CAPITAL
                           1449 37TH STREET
                           BROOKLYN, NY 11218


                           THE BANK OF PRINCETON
                           C/O HILL WALLACK, LLP
                           21 ROSZEL ROAD
                           PRINCETON, NJ 08543


                           TOMUR REALTY LLC
                           C/O MURRAY GREENBERG
                           17 FEHERVARI COURT
                           FRANKLIN, NJ 08872
